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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF LOUISIANA wong ah ot A WTS

MARTHA LUSHUTE i
CIVIL ACTION
VERSUS
NO. 08-761-JJB
TOWER CREDIT, INC.,
ET AL.

JUDGMENT
For reasons assigned in the record,
IT IS ORDERED, ADJUDGED AND DECREED that judgment be entered in
favor of defendants and against plaintiff. The court retains jurisdiction over the issue
of whether sanctions should be imposed against counsel for plaintiff.

Baton Rouge, Louisiana, june <> 2008.

 

  

JAMES J. BRADY, JUDGE
MIDDLE DISTRICT OF LOUISIANA

   

 
